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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ---------------------------------------------------------------X
   LIBERTY MUTUAL INSURANCE COMPANY,

                                     Plaintiff,                        JUDGMENT
          v.
                                                                       19-CV-3374 (LDH) (MMH)
   STERLING INSURANCE COMPANY,

                                      Defendant.
   ---------------------------------------------------------------X
           An Order of the Honorable LaShann DeArcy Hall, United States District Judge, having

  been filed on May 30, 2023, granting the motion for declaratory judgment; and dismissing this

  case; it is

          ORDERED and ADJUDGED that the motion for a declaratory judgment is granted; that

  for the reasons set forth in this Court's September 29, 2022 Memorandum and Order, Defendant

  has no duty to defend; and that this case is dismissed.

  Dated: Brooklyn, New York                                            Brenna B. Mahoney
         September 6, 2023                                             Clerk of Court

                                                                 By:    /s/Jalitza Poveda
                                                                        Deputy Clerk
